Case 1:17-cv-03857-TWP-MJD Document 14 Filed 02/19/18 Page 1 of 2 PageID #: 90



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

DEONTA ELLIS                                 )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )
                                             )      Case No.: 1:17-cv-3857-TWP-MJD
DANIEL SLIGHTOM and CARLTON                  )
HOWARD in their individual and               )
official capacities, the CITY OF             )
INDIANAPOLIS,                                )
                                             )
               Defendants.                   )

                      DEFENDANTS PRELIMINARY EXHIBIT LIST

       Daniel Slightom, Carlton Howard, and the City of Indianapolis, submit the following

Preliminary Exhibit List:

   1. Probable Cause Affidavits relating to this incident;

   2. Charging Documents relating to this incident;

   3. Plea Agreements relating to this incident;

   4. Transcripts of Hearings relating to this incident;

   5. Sentencing Orders relating to this incident; and

   6. Indianapolis Metropolitan Police Department Case Report DP150124825-0000.


                                                    Respectfully Submitted,

                                                    /s/ Thomas J. O. Moore
                                                    Thomas J. O. Moore (32079-53)
                                                    Assistant Corporation Counsel
                                                    OFFICE OF CORPORATION COUNSEL
                                                    200 East Washington Street, Suite 1601
                                                    Indianapolis, Indiana 46204
                                                    Telephone: (317) 327-4055
                                                    Email: thomas.moore@indy.gov
Case 1:17-cv-03857-TWP-MJD Document 14 Filed 02/19/18 Page 2 of 2 PageID #: 91



                              CERTIFICATE OF SERVICE

       I hereby certify that on February 19, 2018 a copy of the foregoing was filed electronically

via the Court’s system. Service of this filing will be made on the below Registered Users via the

Court’s CM/ECF system.

Christopher K. Starkey
406 South Harrison Streets
Shelbyville, Indiana 46176
                                                    Respectfully Submitted,

                                                    /s/ Thomas J. O. Moore
                                                    Thomas J. O. Moore (32079-53)
                                                    Assistant Corporation Counsel
OFFICE OF CORPORATION COUNSEL
200 East Washington Street, Suite 1601
Indianapolis, Indiana 46204
Telephone: (317) 327-4055
